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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

 NOLEF TURNS, INC., et al.,                        )
                                                   )
        Plaintiffs,                                )
                                                   )
 v.                                                )   Civil Action No. 3:23-cv-232-JAG
                                                   )
 GLENN YOUNGKIN, Governor of Virginia,             )
 in his official capacity, et al.,                 )
                                                   )
        Defendants.                                )

       DEFENDANTS’ NOTICE REGARDING PLAINTIFF GEORGE HAWKINS

       Today, October 4, 2023, counsel for Defendants learned that George Hawkins’s application

for re-enfranchisement has been deemed “ineligible at this time.”



Dated: October 4, 2023                      Respectfully submitted,

                                            GLENN YOUNGKIN
                                            KELLY GEE


                                            By:      /s/ Steven G. Popps
                                                   Andrew N. Ferguson (VSB #86583)
                                                     Solicitor General
 Jason S. Miyares                                  Erika L. Maley (VSB #97533)
   Attorney General                                   Principal Deputy Solicitor General

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                                        Kelly Gee




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                                  CERTIFICATE OF SERVICE
       THIS IS TO CERTIFY that on October 4, 2023, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to all parties of record.



                                              /s/ Steven G. Popps
                                                 Steven G. Popps (VSB #80817)




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